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                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION
   In re:                            §           Case No. 22-50929-mmp
                                     §
   HIGHPOINTE LIFEHOPE SPE, LLC,     §
                                     §           Chapter 11
          Debtor.                    §

           SAN ANTONIO PREVENTATIVE & DIAGNOSTIC MEDICINE, P.A.’S
                NOTICE OF WITHDRAWAL OF ECF NO. 258 AS MOOT

   TO THE HONORABLE COURT:

          San Antonio Preventative & Diagnostic Medicine, P.A. (“SAPDM”) hereby files this

   Notice of Withdrawal of its Unopposed Motion to Allow its Representative, Albert Mosqueda,

   M.D., to Testify via Webex at Hearing Scheduled for April 4, 2023 as Moot, and in support

   respectfully shows:

          1.     On April 3, 2023, SAPDM filed an Unopposed Motion to Allow its Representative,

   Albert Mosqueda, M.D., to Testify via Webex at Hearing Scheduled for April 4, 2023 (ECF No.

   258), requesting the Court allow Dr. Albert Mosqueda to testify via Webex at the hearing

   scheduled for April 4, 2023 in the above-captioned matter. Later that same date, SAPDM received

   written approval from Ms. Deanna Castleberry, Courtroom Deputy, for Dr. Mosqueda to testify at

   the hearing via Webex.

          2.     Accordingly, SAPDM now respectfully files this Notice of Withdrawal as Moot

   with regard to its Unopposed Motion to Allow its Representative, Albert Mosqueda, M.D., to

   Testify via Webex at Hearing Scheduled for April 4, 2023 (ECF No. 258).


   DATED: April 3, 2023.
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                                                   Respectfully Submitted,

                                                   DAVIS & SANTOS, PLLC

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                                                   Antonio Preventive & Diagnostic
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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing document will served by
   electronic (ECF) notice, or notice by mail, to the following parties:

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    By Mail to:

      Highpoint Lifehope SPE, LLC                     South Texas Radiology
      11680 Great Oaks Way, Suite 120                 PO Box 29441
      Alpharetta, GA 30022                            San Antonio, TX 78229

      Small Business Financial Solutions Rapid        Orion Client Services, LLC 17721
      Finance                                         Rogers Ranch Pkwy Suite 100
      4500 East West Highway, 6th Fl.                 San Antonio, TX 78258
      Bethesda, MD 20814

      Flow Therapy Med-Tech Construction              Homann Development Services
      2500 West Freeway Ste. 200                      10722 Sentinel St.
      Ft Worth, TX 76102                              San Antonio, TX 78217

      Lipscomb & Pitts Insurance                      Family Endeavors, Inc. Attn:
      2670 Union Ave Extended                         Accounting
      Suite 100                                       6363 De Zavala Rd.
      Memphis, TN 38112                               San Antonio TX 78249

      Bexar County Tax Assessor                       MLC Landscaping Co, Inc.
      P.O. Box 839950                                 14618 Jones Maltsberger Rd
      San Antonio, TX 78283-3950                      San Antonio, TX 78247


      Newco Capital Group VI LLC 1                    Simplex Grinnell Johnson Controls Fire
      Whitehall Street Ste 200                        Proetec
      New York, NY 10004                              Dept CH 10320
                                                      Palatine, IL 60055




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      North Field St. Ste 2000               McKinney TX 75070
      Dallas, TX 75201

      San Antonio Water System               Marvin F. Poer & CO
      PO Box 2990                            PO Box 674300
      San Antonio TX 78299-2990              Dallas TX 75267-4300

      AmeriTex Elevator Texas, LLC           A.J. Monier Service O.
      12050 Crownpoint Dr.                   1446 N. Flores St.
      San Antonio, TX 78233                  San Antonio, TX 78212

      University Health Systems              Matera Paper Company Inc.
      4502 Medical Drive MS #107-1 San       835 North WW White Rd
      Antonio, TX 78229                      San Antonio, TX 78219

      Health Trust Workforce                 Century Electric
      9725 Datapoint Drive                   5712 Mobud
      San Antonio, Texas 78229               San Antonio, TX 78238

      CT Corporation                         Catapult Health, LLC
      PO Box 4349                            5294 Belt Line Rd. Suite 200
      Carol Stream, IL 60197-4349            Dallas, Texas 75254

      ICJ Group Services                     Service Mechanical Group LLC
      9130 Warp Drive                        11011 Wye St.
      San Antonio, Texas 78254               San Antonio, Texas 78217




                                                      /s/ Landon M. Hankins
                                                     Landon M. Hankins




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